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                        IN THE UNITED STATES DISTRICT COURT        -; _::; ;:        -
                      FOR THE Los Angeles DISTRICT OF CALIFORNIfk =~`~'       . ;:. 1 : ~          -,
                                                                                         ','~~'S_~`
                                                                                                   1
MELVIN LOUIS HUGES

Movant,                                 Case No. 2:21-cv-08330-JAK-KS
                                        Case No. 2:21-cv-04569-JAK-KS
        vs.

U NITED STATES OF AMERICA,

Respondent.



               MOTION TO SET ASIDE DECLARATION OF FORFEITURE
                      PURSUANT TO 18 U.S.C. § 983(e)


COMES NOW, Melvin Huges L ("Movant", pro se, and hereby moves this Honorable Court to
set aside the DECLARATION OF FORFEITURE regarding the property described below,
pursuant to 18 U.S.C. § 983(e). In support of this motion, Movant states as follows:

1. The property subject to this motion is: Describe the seized property in detail.
2 Tesla Vehicles,Real Property,Cryptocurrency, Cash Deposits.

2. The property was seized on or about 7/30/2021 by IRS CRIMINAL INVESTIGATION as part
of a civil investigation.

3. Movant has an interest in the seized property as owner.

4. The civil investigation has continued for five years without any charges being filed against
Movant.

5. Movant did not receive written notice of the seizure as required by 18 U.S.C. § 983(a)(1)(A.

6. The government knew or should have known of Movant's interest in the property and failed to
take reasonable steps to provide notice.

7. Movant did not know or have reason to know of the seizure within sufficient time to file a
timely claim.

8. This motion is timely filed within five years of the date of final publication of notice of seizure,
as required by 18 U.S.C. § 983(e).
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9. The extended duration of the investigation without charges being filed constitutes an
extraordinary circumstance that justifres setting aside the forfeiture.

WHEREFORE, Movant respectfully requests that this Court:

A. Grant this Motion to Set Aside the Declaration of Forfeiture pursuant to 18 U.S.C. § 983(e);

B. Order the return of the seized property to Movant; or, if the property has been disposed of,
institute proceedings against a substitute sum of money equal to the value of MovanYs interest
in the property at the time it was disposed of, pursuant to 18 U.S.C. § 983(e);

C. Grant any other relief this Court deems just and proper.

Respectfully submitted,

   J ~~L       L~
Melvin Huges L.
1014 S. Westlake Slvd #14-318
Westlake Village, CA 91361
323.787.3854
soyoungevity@gmail.com
      Case 2:21-cv-04569-JAK-KS                             Document 77 Filed 01/24/25                Page 3 of 7 Page ID
                                                                  #:461


 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Sate Bar Number, and address)                               FOR COURT USf ONtY
 Melvin Huges L                                                                                CO~viFO~iVlED GOpy
 1014 S.Westlake Blvd. 14-318
 Westlake Village CA. 91361                                                                    su~r~orCourtofCa~D
                                                                                                                ornia
                                                                                                   County of Los Angeles


             TELEPHONE NO.: 323 ]$7 365Q                      FAX N0.(Optional):
                                                                                                       JA~ ~ 4 2~~~~

 E-MAIL ADDRESS (Optional): SOy0Ull9@VIty~Q gfT121~.COfT1


      ATTORNEY FOR (NomeJ~
                                                                                          David W. Slayton, Executive OfficedClerk of Court

                       SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:~9,_                               ~~_~~~g2
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                                                                                         DEPARTMENT: S ~j
                                                                                        CASE NUMBER:~G~ ,C~J~~_fyOUlO"~ ~/
 PEOPLE OF THE STATE OF CALIFORNIA                                                       WARRANT NUMBER:
                   v.
 PETITIONER/DEFENDANT: MELVIN LOUIS HUGES                                                BOOKING NUMBER:
                                                                                         LEA REPORT NUMBER:

                                     PETITION FOR RETURN OF SEIZED PROPERTY
                                                   ~ ~ NON-FIREARM                 ❑ FIREARM


                   This form is for individuals seeking a court orderfar return of seized property.
       To begin the process for return of seized property:
            1. Complete this petition and make copies for yourself, the arresting agency, and the prosecuting agency.
           2. Submit the petition and order to the Court and give notice of the petition to the arresting agency and the
                prosecuting agency pursuant to Superior Court of Los Angeles County, rule 8.21.



 1.    I am the !J defendant ❑ arrestee ❑victim                      ❑other(specifyJ:

        i n the above-entitled action and I hereby petition the Court far return of property.


       (a) ~✓~ described as (Describe property. Attach a separate sheet, if necessary.):
              2 Tesla Vehicles, digital correncies, real property, cash deposits




       (b) ❑ described as a firearm as defined Penal Code section 12001. Attached is a Certificate of Eligibility from the
               Department of Justice.


 2. This property is in the custody of(agency name): IRS CRIMINAL INVESTIGATION




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For optional use                                                                                                        Pdge 1 Of 3
        Case 2:21-cv-04569-JAK-KS                   Document 77 Filed 01/24/25                   Page 4 of 7 Page ID
                                                          #:462



  PEOPLE OF THE STATE OF CALIFORNIA                                                                            /
                                                                                     CASE NUMBER: ~~ ~C~~ t~ ~6 ~ ~I
  v.                                                                                 WARRANT NUMBER:
                                                                                     BOOKING NUMBER:
                                                                                     LEA REPORT NUMBER:
  PETITIONER/DEFENDANT: MELVIN LOUIS HUGES


  3.    I am the:

        D      Owner of said property

        ❑      Person entitled to possession of this property because (state reasons):




 4.     Facts regarding the seizure of property and case status (check all that apply):

         ~ Property was seized under a warrant issued by this court.
        't✓

        O Property seized was not that described in the warrant.

        ❑ Property was seized without a warrant.

        ❑ Property is not considered contraband.

        D Prosecuting agency has not filed a case.

        ❑ Other (specify):




 5.     I have been in contact with the law enforcement agency in possession of the property described above and the
         relevant prosecuting agency and they:

        ❑ OPPOSE return of the property.
        ❑ DO NOT OPPOSE return of the property. (Attach any correspondence from the relevant agencies reflecting their
          position. Includeanyrelevant information in a dedaration.ludicial Councilform MC-030 may be used, if needed.)
        D NOT APPLICABLE as I have not contacted either agency.


 6. I request that the Court issue an order for return of property described above.



   declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




 Date:         "'               ~j


  Melvin Huyes L
                    (TYPE OR PRINT NAME]                                             (SIGNA UR     F PETITIONER)




LASC CRIM 309 NEW 10/23
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  PEOPLE OF THE STATE OF CALIFORNIA                                                              [~f ~) ~D
                                                                                  CASE NUMBER: (~7`VC/ ~ ~ d ~O         U(
  v.                                                                              WARRANT NUMBER:
                                                                                  BOOKING NUMBER:
                                                                                  LEA REPORT NUMBER:
  PETITIONER/DEFENDANT: MELVIN LOUIS HUGES


                                                     PROOF OF SERVICE
                                       ❑   Personal Service         8 Service by Mail


       1.   Person serving:     I am over the age of 18 and not a party to this action.
            N ame:

            Address:

            Telephone:

       2.   I served a copy of the Petition for Return of Seized Property as follows (check one):

            a.    ❑ Personal Service: I personally delivered the Petition for Return of Seized Property
                    to the person at the address listed below:
                       (1) Name of Person served:
                       (2) Address where served:



                       (3) Date served:

                       (4) Time served:

            b.     La Service by Mail: I deposited the Petition for Return of Seized Property in the
                      U nited States mail in a sealed envelope with first-class postage full prepaid.
                      The envelope was addressed as follows:
                       (1) Name of Person served:

                       (2) Address where served:



                       (3) Date served:

                       (4) Place of Mailing (city and state): LOS ANGELES CA



   declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

            I~I3 Zo1~{
 Date:                                                                                       ;1


  Janine Stewart

                 TYPE OR PRINT NAME                                                        SIGNATURE OF DECLARANT




LASC CRIM 309 NEW 10/23
ForOp[ionalUse                        PETITION FOR RETURN OF SEIZED PROPERTY                              Page 3 of 3
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                             f
                             ir      #:465 —___       r -_                                      __




                      i ■Complete items 1, 2, and 3.                                             ~~
                        ■ Print your name and address on the reverse                                       i~                                        L~7ifj~nt
                          so that we can return the card to you.                                              ~ ~—                                  ❑Addressee
                        ■ Attach this card to the back of the maiipiece,                                  ived by(Printe~e)                    C. Date of Delivery
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                       ■ Complete items 1, 2, and 3.                                             A. Signature
                       ■ Print your name and address on the reverse                                                                                 D Agent
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                         so that we can return the card to you.                                                                                     ❑ Addressee
                       ■ Attach this card to the back of the mailpiece,                          B. Received by (Printed Name)                 C. Date of Delivery
                         or on the front if space permits.                                                                                       1 7 2025
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